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         %,A0 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case                                                                      FILED
                   Sheet 1



                                                   United States District Cour ■                                                CLtRKUSD,SIH10, C0UHI
                                                       SOUTHERN DISTRICT OF CALIFORNIA                                    southern msiHicr Q^california

                         UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                                             V.                                          (For Offenses Committed On or After November 1, 1987)

                                 PAUL LOMELIN [2]                                        Case Number: 16CR0158-BTM

                                                                                         DON LEVINE
                                                                                         Defendant’s Attorney
         REGISTRATION NO. 55451298


         □
         THE DEFENDANT:
         |x| pleaded guilty to count(s) 2 OF THE INDICTMENT
         1 I was found guilty on count(s)____________________________________________________________
               after a plea of not guilty.
               Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                  Count
         Title & Section                          Nature of Offense                                                                             Numberfsl
    21 USC 841(a)(1)                      POSSESSION OF METHAMPHETAMINE WITH INTENT TO DISTRIBUTE                                                    2




            The defendant is sentenced as provided in pages 2 through                4          of this judgment. The sentence is imposed pursuant
     to the Sentencing Reform Act of 1984.
     j—j The defendant has been found not guilty on count(s)
         Count(s)
     0         Remaining counts of the Indictment                                   is Q are [x] dismissed on the motion of the United States.
     0 Assessment: $ 100 to be paid at the rate of $25 per quarter through the Inmate Financial Responsibility Program.



      1X1 Fine waived                                   [~1 Forfeiture pursuant to order filed                                     , included herein.
           IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
     or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
     defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                                  OCTOBER 7, 2016
                                                                                  Date of Imposition of Sentence


                                                                                  HON. BARRY T^D MOSKOWITZ
                                                                                  UNITED STATES DISTRICT JUDGE


                                                                                                                                                   16CR0158-BTM
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    AO 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
               Sheet 2 — Imprisonment
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                                                                                                     Judgment — Page
     DEFENDANT: PAUL LOMELIN [2]
     CASE NUMBER: 16CR0158-BTM

                                                               IMPRISONMENT
             The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
             TWENTY-SIX (26) MONTHS AND TWENTY-TWO (22) DAYS.



          □ Sentence imposed pursuant to Title 8 USC Section 1326(b).
                                                                                                BARRY TED MOSKOWITZ
                                                                                                                       •e
          IXl The court makes the following recommendations to the Bureau of Prisons:
                                                                                                UNITED STATES DISTRICT JUDGE
              That the defendant participate in the 500 RDAP program. That the defendant serve his sentence in California to facilitate
              family visits.



          d The defendant is remanded to the custody of the United States Marshal.

          d The defendant shall surrender to the United States Marshal for this district:
                                                      d]a.m.     dp-m.         on .
                dat
                   as notified by the United States Marshal.

          d The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               I 1 before
              1~~1 as notified by the United States Marshal.
               I 1 as notified by the Probation or Pretrial Services Office.



                                                                     RETURN
     I have executed this judgment as follows:

             Defendant delivered on                                                     to

     at                                                , with a certified copy of this judgment.


                                                                                                   UNITED STATES MARSHAL

                                                                          By
                                                                                              DEPUTY UNITED STATES MARSHAL




                                                                                                                            16CR0158-BTM
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        A0 245B(CASD) (Rev. 4/14) Judgment in a Criminal Case
                  Sheet 3 — Supervised Release
                                                                                                                       Judgment—Page        3     of        4
        DEFENDANT: PAUL LOMELIN [2]
        CASE NUMBER: 16CR0158-BTM                                                                             □
                                                                  SUPERVISED RELEASE
        Upon release from imprisonment, the defendant shall be on supervised release for a term of:
        THREE (3) YEARS.

                 The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
        the custody of the Bureau of Prisons.
        The defendant shall not commit another federal, state or local crime.
        For offenses committed on or after September 13, 1994:
     The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
     substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
     thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
     the term of supervision, unless otherwise ordered by court.
    | | The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
                future substance abuse. (Check, if applicable.)
    IXl        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
    |X|        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
               Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
    |     [    The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
               by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
               was convicted of a qualifying offense. (Check if applicable.)
    I     1    The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

                  If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
        or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
        forth in this judgment.
                The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
        any special conditions imposed.

                                                STANDARD CONDITIONS OF SUPERVISION
          1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
          2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
          3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
         4)     the defendant shall support his or her dependents and meet other family responsibilities;
          5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
                acceptable reasons;
          6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
          7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
                controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
          8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
         9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
                a felony, unless granted permission to do so by the probation officer;
         10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
                contraband observed in plain view of the probation officer;
         U)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
         12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
                permission of the court; and
         13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
                record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
                defendant’s compliance with such notification requirement.

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       __________ Sheet 4 — Special Conditions_____________
                                                                                                       Judgment—Page     4     of      4
        DEFENDANT: PAUL LOMELIN [2]
        CASE NUMBER: 16CR0158-BTM




                                             SPECIAL CONDITIONS OF SUPERVISION
[—I Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
h--a a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
     a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
     this condition.

|Xl Participate in a program of drug abuse treatment including testing and counseling, with at least 1 to 8 tests per month and 1 to 8 counseling
    sessions per month as directed by the probation officer.
I I Not transport, harbor, or assist undocumented aliens.
I I Not associate with undocumented aliens or alien smugglers.
1~I Not reenter the United States illegally.
IXl Not enter the Republic of Mexico without written permission of the Court or probation officer.
IXl Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
IXl Not possess any narcotic drug or controlled substance without a lawful medical prescription under Federal Law.
[Xl Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
CH Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the pre-sentence
    report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall
    consent to the release of evaluations and treatment information to the probation officer and the Court by the mental health provider.


| I Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
 — officer, if directed.
I 1 Provide complete disclosure of personal and business financial records to the probation officer as requested.
I I Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of days upon release. This is a non punitive
    placement.
0 Seek and maintain full time employment and/or schooling or a combination of both.
1 I Resolve all outstanding warrants within              days.
I I Complete        hours of community service in a program approved by the probation officer within
13 Forthwith Apply for enter and successfully complete a residential drug treatment Program as directed by the Probation Officer.


□ If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter or attempt to
  reenter the United States illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions
  of supervision are suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.




                                                                                                                                    16CR0158-BTM
